                        UNITED STATE DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

JENNIFER COUSINS; MATTHEW
COUSINS; P.C., M.C., S.C., and N.C., by
and through their next friends and parents,
Jennifer and Matthew Cousins; WILL
LARKINS, by and through his next friend
and parent, Ted Larkins; DAVID DINAN; Case No. 6:22-cv-1312-WWB-DCI
VIKRANTH REDDY GONGIDI;
K.R.D. and R.R.D., by and through their
next friends and parents David Dinan and
Vikranth Reddy Gongidi; and
CENTERLINK, INC., on behalf of itself
and its members,


              Plaintiffs,
       vs.
THE SCHOOL BOARD OF ORANGE
COUNTY, FLORIDA; THE SCHOOL
BOARD OF INDIAN RIVER COUNTY,
FLORIDA; THE SCHOOL BOARD OF
DUVAL COUNTY, FLORIDA; and THE
SCHOOL BOARD OF PALM BEACH
COUNTY, FLORIDA,
              Defendants.

_______________________________________/

                            MOTION FOR SPECIAL ADMISSION


       Jennifer Vail, Esquire, moves for special admission to represent Plaintiffs in this

action.


       I am neither a Florida resident nor a member in good standing of The Florida

Bar.
       I am a member in good standing of a bar of a United States district court;

specifically,


United States District Court, Southern District of New York


United States District Court, Eastern District of New York




       I have not abused the privilege of special admission by maintaining a regular

law practice in Florida. I have initially appeared in the last thirty-six months in these

cases in state or federal court in Florida:




       I will comply with the federal rules and this Court’s local rules.


       I am familiar with 28 U.S.C. § 1927, which provides:


                Any attorney or other person admitted to conduct cases in
                any court of the United States or any Territory thereof who
                so multiplies the proceedings in any case unreasonably and
                vexatiously may be required by the court to satisfy
                personally the excess costs, expenses, and attorneys’ fees
                reasonably incurred because of such conduct.

       I have paid the fee for special admission or will pay the fee upon special

admission.


       I will register with the Court’s CM/ECF system.



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      I affirm the oath, which states:

             I will support the Constitution of the United States. I will
             bear true faith and allegiance to the government of the
             United States. I will maintain the respect due to the courts
             of justice and all judicial officers. I will well and faithfully
             discharge my duties as an attorney and officer of this Court.
             I will conduct myself uprightly and according to the law and
             the recognized standards of ethics of the legal profession.




                           Local Rule 3.01(g) Certification


      I have conferred with the opposing party and represent the opposing party does

not object to my special admission.


                                                             By: /s/Jennifer Vail
                                                             Jennifer Vail, Esquire
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                                                             Southern Poverty Law
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      Dated: August 10, 2022



                                        Respectfully submitted,

                                        By: /s/ Debra A. Dandeneau
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                                        Tel: (212) 626-4100
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                                        Attorneys for Plaintiffs




                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 10, 2022, I electronically served the

foregoing document on all counsel of record or pro se parties identified on the attached

Service List through the Court’s CM/ECF filing system.


                                 By: /s/ Debra A. Dandeneau
                                         Debra A. Dandeneau




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                   SERVICE LIST
            Case No: 6:22-cv-1312-WWB-DCI
          UNITED STATES DISTRICT COURT
           MIDDLE DISTRICT OF FLORIDA


      JENNIFER AND MATTHEW COUSINS, ET AL.

                              Plaintiff,

                              vs.

THE SCHOOL BOARD OF ORANGE COUNTY, FLORIDA, et al.,

                        Defendants.




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